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                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                  HARRISON DISTRICT

UNITED STATES OF AMERICA                                            PLAINTIFF/RESPONDENT

               v.                     Civil No.    3:13-CV-03045
                                      Criminal No. 3:11-CR-30010

IRENEO ARRIZON                                                      DEFENDANT/MOVANT


                                            ORDER



       Movant, a federal prisoner presently housed at the FORREST CITY LOW, FEDERAL

CORRECTIONAL INSTITUTION, has filed a Motion Under 28 U.S.C. §2255 for review by this

court (ECF No. 67) on April 8, 2013. Having reviewed the motion, Respondent is ordered to file

a response within thirty (30) days from the date of this order.



       IT IS SO ORDERED this April 11, 2013.




                                                      /s/J. Marschewski
                                                      James R. Marschewski
                                                      Chief United States Magistrate Judge
